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                       15
                                                UNITED STATES DISTRICT COURT
                       16
                                              CENTRAL DISTRICT OF CALIFORNIA
                       17
                                                            SOUTHERN DIVISION
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                       19
                       20    OX LABS, INC.,                           Case No. 2:18-cv-05934-MWF-KS

                       21                      Plaintiff,             JOINT STIPULATION AND
                                                                      [PROPOSED] ORDER TO
                       22    vs.                                      EXTEND DISCOVERY
                       23    BITPAY, INC. and Does 1-10,
                                                                      DEMAND FOR JURY TRIAL
                       24
                                               Defendants.
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                                                                                     Case No. 2:18-cv-05934-MWF-KS
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                         1           The Court’s December 17, 2018 Order re Jury Trial currently sets the end of
                         2   non-expert discovery for August 9, 2019. See Dkt. No. 22. Counsel for Plaintiff
                         3   OX Labs, Inc. and Defendant BitPay, Inc. have conferred and, subject to Court
                         4   approval, stipulate to extend the non-expert discovery cut-off deadline to August
                         5   23, 2019. This stipulation is being made pursuant to Defendant’s request for more
                         6   time to comply with Magistrate Judge Stevenson’s Informal Discovery Order dated
                         7   August 7, 2019. Dkt. No. 25.
                         8           The parties, through their respective counsel and subject to Court approval,
                         9   thereby stipulate to extend the non-expert discovery cut-off deadline to August 23,
                       10    2019.
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                       12
                             DATED: August 8, 2019                      RUSS, AUGUST & KABAT
                       13                                               Benjamin T. Wang
                       14                                               By: /s/ Benjamin T. Wang
                       15                                                    Attorney for Defendant
                                                                             BitPay, Inc.
                       16
                       17
                             DATED: August 8, 2019                      LEIDER + AYALA-BASS LLP
                       18                                               Philip A. Leider
                       19                                               By: /s/ Philip A. Leider*
                       20                                                    Attorney for Plaintiff
                                                                             OX Labs, Inc.
                       21
                       22    * all signatories listed, and on whose behalf the filing is submitted, concur in the
                             filing’s content and have authorized the filing.
                       23
                       24
                             IT IS SO ORDERED.
                       25
                             DATED: _______, 2019
                       26                                                   ______________________
                                                                            Hon. Michael W. Fitzgerald
                       27                                                   United States District Court Judge
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                                                                        1                     Case No. 2:18-cv-05934-MWF-KS
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                         1                         CERTIFICATE OF SERVICE
                         2         I hereby certify pursuant to the Federal Rules of Civil Procedure and LR 5-3
                         3   and 5-4 that the foregoing JOINT STIPULATION AND [PROPOSED]
                         4   ORDER TO EXTEND DISCOVERY was served upon the attorney(s) of record
                         5   for each party through the ECF system as identified on the Notice of Electronic
                         6   Filing on August 8, 2019.
                         7
                         8
                         9
                       10                                      By:     /s/ Benjamin T. Wang
                       11                                            Benjamin T. Wang
RUSS, AUGUST & KABAT




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